10 F.3d 806
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sam Blackburn ACORD, Petitioner-Appellant,v.William C. DUNCIL, Warden, Respondent-Appellee.
    No. 92-7148.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 29, 1993.Decided:  November 5, 1993.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Beckley.
      Sam Blackburn Acord, Appellant Pro Se.
      Richard M. Gutmann, OFFICE OF THE ATTORNEY GENERAL OF WEST VIRGINIA, for Appellee.
      S.D.W.Va.
      DISMISSED.
      Before WIDENER, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Sam Blackburn Acord seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.Sec. 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Acord v. Duncil, No. CA-92-554-5 (S.D.W. Va.  Oct. 21, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    